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                                                            FILED & ENTERED
  1   ROBERT E. OPERA – State Bar No. 101182
      ropera@winthropcouchot.com
  2   PAYAM KHODADADI – State Bar No. 239906                    MAY 26 2011
      pkhodadadi@winthropcouchot.com
  3   WINTHROP COUCHOT                                       CLERK U.S. BANKRUPTCY COURT
      PROFESSIONAL CORPORATION                               Central District of California
  4   660 Newport Center Drive, Suite 400                    BY mendoza DEPUTY CLERK

      Newport Beach, CA 92660
  5   Telephone: (949) 720-4100
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  6
      General Insolvency Counsel
  7   for Debtor and Debtor-in-Possession
  8

  9                          UNITED STATES BANKRUPTCY COURT

 10                            CENTRAL DISTRICT OF CALIFORNIA

 11                                   LOS ANGELES DIVISION

 12

 13   In re:                                  Case No.: 2:10-bk-12122 BR
 14   PERSIK PRODUCTIONS, INC.,               Chapter 11 Proceeding
 15   fka BOB YARI PRODUCTIONS,
                                              FINDINGS OF FACT AND CONCLUSIONS
 16                                           OF LAW IN SUPPORT OF ORDER
                   Debtor and                 CONFIRMING DEBTOR’S SECOND
 17                Debtor-in-Possession       AMENDED CHAPTER 11 PLAN OF
                                              REORGANIZATION
 18

 19                                           DATE:     April 25, 2011
                                              TIME:     2:00 p.m.
 20                                           PLACE:    Courtroom 1668
                                                        255 East Temple Street
 21
                                                        Los Angeles, CA 90012
 22

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  1            The matter of the confirmation of the Second Amended Chapter 11 Plan of Reorganization

  2   (“Plan”), filed by Debtor and Debtor-in-Possession Persik Productions, Inc. (“Debtor”), came on

  3   for hearing on April 25, 2011, at 2:00 p.m., before the Honorable Barry Russell, United States

  4   Bankruptcy Judge, in the above-entitled Court. The Debtor was represented by Robert E. Opera

  5   of Winthrop Couchot Professional Corporation. The Committee was represented by Malhar S.

  6   Pagay of the law firm of Pachulski Stang Ziehl & Jones LLP.1 The Guilds were represented by

  7   Joseph A. Kohanski of the law firm of Bush, Gottlieb, Singer, López, Kohanski, Adelstein &

  8   Dickinson, a Law Corporation. Davand Holdings, LLC was represented by Penelope Parmes of

  9   the law firm of Rutan & Tucker, LLP. MHF Zweite Academy Film GmbH & Co. KG was

 10   represented by Jonathan Shenson of the law firm of Klee, Tuchin, Bogdanoff & Stern, LLP.

 11   R. Alexander Pilmer, the duly-appointed and acting Chapter 7 trustee in the case of Yari Film

 12   Group Releasing, LLC (Case No. 2:08-bk-32208 BR) (“YFGR Trustee”), was represented by

 13   Ashleigh Danker of the law firm of Kaye Scholer, LLP. Other appearances, if any, were as

 14   reflected in the Court record of the proceedings.

 15            These Findings of Fact and Conclusions of Law are based, in part, upon the following

 16   pleadings before this Court:

 17                     a.       Plan [Docket No. 221];

 18                     b.       Second Amended Disclosure Statement Accompanying Debtor’s Second

 19            Amended Chapter 11 Plan of Reorganization[Docket No. 222] (“Disclosure Statement”);

 20                     c.       Debtor’s Motion for Confirmation of Second Amended Chapter 11 Plan of

 21            Reorganization [Docket No. 224];

 22                     d.       Declaration of Bob Yari in Support of Motion for Confirmation of Second

 23            Amended Chapter 11 Plan of Reorganization [Docket No. 225];

 24                     e.       Declaration of Dennis Brown in Support of Motion for Confirmation of

 25            Second Amended Chapter 11 Plan of Reorganization [Docket No. 226];

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 27
      1
 28    Unless otherwise defined herein, the definitions of the capitalized terms contained herein are as set forth in the
      Plan.
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  1                f.      Notice of Hearing on Motion for Confirmation of Debtor’s Second

  2         Amended Chapter 11 Plan of Reorganization [Docket No. 227];

  3                g.      Notice of Filing Certain Exhibits to Debtor’s Second Amended Chapter 11

  4         Plan of Reorganization [Docket No. 228];

  5                h.      Declaration of Doug Gromley Re Service of “Plan Packages” [Docket

  6         No. 230];

  7                i.      Order Approving Debtor’s Second Amended Disclosure Statement

  8         Accompanying Debtor’s Second Amended Chapter 11 Plan of Reorganization [Docket

  9         No. 231];

 10                j.      Official Committee of Unsecured Creditors’ Limited Opposition to and

 11         Reservation of Rights Re: Debtor’s Second Amended Chapter 11 Plan of Reorganization

 12         [Docket No. 233] (“Committee Limited Opposition”);

 13                k.      Yari Film Group Releasing Chapter 7 Trustee’s Objection to Confirmation

 14         of Debtor’s Second Amended Chapter 11 Plan of Reorganization [Docket No. 237]

 15         (“YFGR Trustee’s Opposition”);

 16                l.      Debtor’s Supplemental Memorandum of Points and Authorities in Support

 17         of Compromise of Reimbursement/Contribution Claims Pursuant to Second Amended

 18         Chapter 11 Plan of Reorganization [Docket No. 242] (“Reimbursement/Contribution

 19         Claims Settlement Memorandum”);

 20                m.      Qualified Joinder of the Union Entities to Debtor’s Motion to Confirm

 21         Second Amended Chapter 11 Plan [Docket No. 246] (“Guilds Joinder”);

 22                n.      Stipulation Amending Stipulation for: (1) Further Extension of Time to File

 23         Plan of Reorganization and Disclosure Statement; (2) Further Extension of Debtor’s

 24         Exclusive Periods to File Plan of Reorganization and to Solicit Acceptances to Plan of

 25         Reorganization; and (3) Posting of Plan Deposit [Docket No. 248];

 26                o.      Debtor’s Reply to (1) Official Committee of Unsecured Creditors’ Limited

 27         Opposition to and Reservation of Rights Re: Debtor’s Second Amended Chapter 11 Plan

 28         of Reorganization; and (2) Yari Film Group Releasing Chapter 7 Trustee’s Objection to

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  1          Confirmation of Debtor’s Second Amended Chapter 11 Plan of Reorganization[Docket

  2          No. 249] (“Reply”);

  3                 p.      Debtor’s Supplemental Memorandum of Points and Authorities Regarding

  4          Plan Compliance with Sections 1129(a)(8) and 1129(a)(10) of the Bankruptcy Code

  5          [Docket No. 250];

  6                 q.      Supplemental Declaration of Bob Yari in Support of Debtor’s Reply to

  7          Objections to Confirmation of Debtor’s Second Amended Chapter 11 Plan of

  8          Reorganization [Docket No. 251];

  9                 r.      Declaration of P.J. Marksbury Re Tally of Ballots Cast Regarding Debtor’s

 10          Second Amended Chapter 11 Plan of Reorganization [Docket No. 252];

 11                 s.      Ballots Cast in Acceptance and Rejection of Debtor’s Second Amended

 12          Chapter 11 Plan of Reorganization [Docket No. 253];

 13                 t.      Debtor’s Emergency Motion for Authority to Count Late-Cast Ballots

 14          [Docket No. 254] (“Late-Cast Ballots Motion”);

 15                 u.      Debtor’s Notice of Motion and Motion Objecting to Claim No. 31 filed by

 16          R. Alexander Pilmer, Chapter 7 Trustee for Yari Film Group Releasing, LLC [Docket

 17          No. 255];

 18                 v.      Debtor’s Emergency Motion for Order Approving Settlement Agreement

 19          [Docket No. 258] (“MHF Settlement Agreement Motion”);

 20                 w.      Order Granting Debtor’s Emergency Motion for Order Approving

 21          Settlement Agreement [Docket No. 262]; and

 22                 x.      Order Granting Debtor’s Emergency Motion for Authority to Count Late-

 23          Cast Ballots [Docket No. 263].

 24          Based upon the foregoing pleadings, the other pleadings and documents on file in the Case,

 25   the Court’s granting of the Late-Cast Ballots Motion and the MHF Settlement Agreement

 26   Motion, the Guilds Joinder, the withdrawal by the Committee of the Committee Limited

 27   Opposition and the Court’s overruling of the YFGR Trustee’s Opposition, the arguments

 28   presented at the Confirmation Hearing, the rulings contained in the Court’s Order Confirming

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  1   Debtor’s Second Amended Chapter 11 Plan of Reorganization (“Confirmation Order”) being

  2   issued by the Court concurrently herewith, and for other good and sufficient cause, the Court

  3   hereby makes the Findings of Fact and Conclusions of Law set forth herein.

  4                                                     I.

  5                                         FINDINGS OF FACT

  6          1.1     This Court has granted the MHF Settlement Agreement Motion. By reason of the

  7   granting of the MHF Settlement Agreement Motion, MHF Zweite Academy Film GmbH & Co.

  8   KG has confirmed on the record of the proceedings at the Confirmation Hearing that it supports

  9   the confirmation of the Plan.

 10          1.2     This Court has granted the Late-Cast Ballots Motion. By reason of the granting of

 11   the Late-Cast Ballots Motion, this Court has authorized the counting of late-cast ballots by certain

 12   Creditors, as set forth in the Late-Cast Ballots Motion.

 13          1.3     The Committee has withdrawn the Committee Limited Opposition, and has

 14   confirmed on the record of the proceedings at the Confirmation Hearing that it supports the

 15   confirmation of the Plan.

 16          1.4     The Debtor is the proponent of the Plan.

 17          1.5     The Plan was filed in good faith and for the purpose of reorganizing the financial

 18   affairs of the Debtor, in accordance with the provisions of the Bankruptcy Code and not by any

 19   means forbidden by law.

 20          1.6     The Plan, the Disclosure Statement, and, as applicable, ballots for voting on the

 21   Plan, were duly served upon all Creditors, the Interest Holder and parties-in-interest, in

 22   accordance with the requirements of section 1125 of the Bankruptcy Code.

 23          1.7     The notice given of the Confirmation Hearing was sufficient under the

 24   circumstances of this case.

 25          1.8     The solicitation of acceptances of the Plan was undertaken in good faith and in

 26   compliance with the applicable provisions of the Bankruptcy Code.

 27          1.9     Classes 3, 4 and 7 under the Plan are unimpaired, as that term is used in

 28   section 1124 of the Bankruptcy Code.

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  1           1.10   No Class 6 Creditor now exists in the Case in that this Court has not subordinated

  2   the Claim of any Creditor.

  3           1.11   The Plan has been accepted in writing by Classes 1, 2 and 5 established under the

  4   Plan.

  5           1.12   All payments made or promised by the Debtor for services or for costs and

  6   expenses incurred in or in connection with the Case, or in connection with the Plan and incident to

  7   the Case, have been adequately disclosed to this Court and are reasonable, or, if to be fixed after

  8   confirmation of the Plan, will be subject to the approval of this Court.

  9           1.13   Each holder of a Claim has accepted the Plan, or will receive or retain under the

 10   Plan property of a value, as of the Effective Date of the Plan, that is not less than the amount

 11   which such holder would receive or retain if the Debtor’s assets were liquidated on such date

 12   under Chapter 7 of the Bankruptcy Code.

 13           1.14   All settlements and compromises of Claims set forth in and contemplated under the

 14   Plan, including, without limitation, the settlement of the amount of the Guilds’ Allowed Secured

 15   Claims and Allowed General Unsecured Claims, as described, respectively, in Sections 5.2

 16   and 5.2.13 of the Plan, and the settlement of the Reimbursement/Contribution Claims, as described

 17   in Section 6.31 of the Plan and the support for which settlement is provided, in part, by the

 18   Reimbursement/ Contribution Claims Settlement Memorandum, are fair and reasonable

 19   settlements and settlements negotiated in good faith and are in the best interests of Creditors.

 20           1.15   The Plan is feasible, and confirmation of the Plan is not likely to be followed by the

 21   liquidation, or the need for further financial reorganization, of the Debtor.

 22           1.16   Pursuant to the Plan and the Disclosure Statement, the Debtor has disclosed the

 23   identity and affiliations of any individual proposed to serve, after confirmation of the Plan, as a

 24   director, officer, or voting trustee of the Debtor, and the continuance in such office of such

 25   individuals is consistent with the interests of the Creditors and the Interest Holder and with public

 26   policy. The Debtor has disclosed the identity of any insider that will be employed by the

 27   Reorganized Debtor.

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  1          1.17       The Plan provides for the payment of all fees payable under 28 U.S.C.

  2   Section 1930 on the Effective Date of the Plan.

  3          1.18       The Plan does not discriminate unfairly against any Class of Claims or Interests

  4   under the Plan.

  5          1.19       Good cause exists for confirming the Plan pursuant to section 1129(a) of the

  6   Bankruptcy Code.

  7          1.20       No other plan has been confirmed in the Case; accordingly, section 1129(c) of the

  8   Bankruptcy Code is inapplicable in this case.

  9          1.21       No governmental unit has objected to the confirmation of the Plan; accordingly,

 10   section 1129(d) of the Bankruptcy Code is inapplicable in this case.

 11          1.22       The Committee has stated in writing its support for the confirmation of the Plan.

 12          1.23       By the Reply and other pleadings referenced hereinabove, the Debtor has addressed

 13   adequately the objections to the confirmation of the Plan asserted by the YFGR Trustee by the

 14   YFGR Trustee Opposition, and, based upon the evidence before the Court, good cause exists for

 15   overruling the YFGR Trustee Opposition.

 16          1.24       The transactions contemplated by the Plan, including, without limitation, the

 17   transactions contemplated by the Plan Documents, are in compliance with and satisfy all applicable

 18   provisions of the Bankruptcy Code, and the terms and conditions of the Plan are fair and

 19   reasonable.

 20                                                      II.

 21                                        CONCLUSIONS OF LAW

 22          2.1        This Court has jurisdiction over this matter.

 23          2.2        In accordance with the provisions of section 1129(a)(1) of the Bankruptcy Code,

 24   the Plan complies with the applicable provisions of Title 11 including, without limitation, the

 25   provisions of sections 1122 and 1123 of the Bankruptcy Code.

 26          2.3        In accordance with the provisions of section 1129(a)(2) of the Bankruptcy Code,

 27   the Debtor has complied with the applicable provisions of Title 11, including, without limitation,

 28   the provisions of section 1125 of the Bankruptcy Code.

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  1           2.4    In accordance with the provisions of section 1129(a)(3) of the Bankruptcy Code,

  2   the Plan has been proposed in good faith and not by any means forbidden by law.

  3           2.5    In accordance with the provisions of section 1129(a)(4) of the Bankruptcy Code,

  4   any payment made or to be made by the Debtor for services or for costs and expenses in or in

  5   connection with the Case, or in connection with the Plan or incident to the Case, has been

  6   approved by, or is subject to the approval of, the Court as reasonable.

  7           2.6    The Debtor has complied with the provisions of section 1129(a)(5) of the

  8   Bankruptcy Code in that (a) the Debtor has duly provided in the Plan and in the Disclosure

  9   Statement all required disclosures regarding each individual proposed to serve, after the

 10   confirmation of the Plan, as a director and officer of the Reorganized Debtor; (b) the continuance

 11   in such office of such individual is consistent with the interests of Creditors and the Interest

 12   Holder and with public policy; and (c) the Debtor has disclosed the identity of insiders that will be

 13   retained by the Reorganized Debtor.

 14           2.7    The provisions of section 1129(a)(6) of the Bankruptcy Code are not applicable in

 15   this case.

 16           2.8    The Plan complies with the provisions of section 1129(a)(7) of the Bankruptcy

 17   Code in that each Creditor has accepted the Plan, or will receive or retain under the Plan on

 18   account of its Claim property of a value, as of the Effective Date of the Plan, that is not less than

 19   the amount that such Creditor would so receive or retain if the Debtor were liquidated under

 20   Chapter 7 of the Bankruptcy Code on such date.

 21           2.9    The Plan complies with the provisions of section 1129(a)(8) of the Bankruptcy

 22   Code. Classes 1, 2 and 5 established by the Plan have accepted the Plan. Classes 3, 4 and 7

 23   established by the Plan are not impaired by the Plan, and, accordingly, these Classes are deemed

 24   to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code. No Class 6

 25   Creditor now exists in the Case in that this Court has not subordinated any Claim, and, therefore,

 26   good cause exists for disregarding such Class for the purpose of section 1129(a)(8).

 27           2.10   The Plan complies with the requirements of section 1129(a)(9) of the Bankruptcy

 28   Code in that the treatment under the Plan of Allowed Administrative Claims, Allowed Priority

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  1   Non-Tax Claims and Allowed Priority Tax Claims is in accordance with the requirements of

  2   section 1129(a)(9) of the Bankruptcy Code.

  3           2.11   The Plan complies with the requirements of section 1129(a)(10) of the Bankruptcy

  4   Code in that Classes 1, 2 and 5 established by the Plan have voted in favor of the Plan.

  5           2.12   The Plan is feasible and, accordingly, the Plan complies with the requirements of

  6   section 1129(a)(11) of the Bankruptcy Code.

  7           2.13   The Plan complies with the requirements of section 1129(a)(12) of the Bankruptcy

  8   Code.

  9           2.14   The provisions of sections 1129(a)(13), 1129(a)(14), 1129(a)(15) and 1129(a)(16)

 10   of the Bankruptcy Code are not applicable to this case.

 11           2.15   All requirements contained in section 1129(a) of the Bankruptcy Code for

 12   confirmation of the Plan have been met in this case.

 13           2.16   The settlement of the amount of the Guilds’ Allowed Secured Claims and Allowed

 14   General Unsecured Claims, as described, respectively, in Sections 5.2 and 5.2.13 of the Plan, and

 15   the settlement of the Reimbursement/Contribution Claims, as described in Section 6.31 of the

 16   Plan, are fair and reasonable compromises, and good cause exists to approve such compromises,

 17   pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure.

 18           2.17   Good cause exists for this Court’s retaining jurisdiction over the Case in order to

 19   ensure that the purposes and intent of the Plan are carried out, including, without limitation, for

 20   the purposes set forth in Section 13.10 of the Plan.

 21           2.18   Pursuant to section 1146(c) of the Bankruptcy Code, any transfers from the

 22   Debtor to the Reorganized Debtor or to any Creditor or party-in-interest pursuant to the Plan

 23   shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or

 24   similar tax, mortgage tax, stamp act, real estate transfer tax, mortgage recording tax, Uniform

 25   Commercial Code filing or recording fee, or other similar Tax or governmental assessment.

 26           2.19   The claims bar dates set forth in Sections 3.1.2, 8.4 and 10.5 of the Plan are

 27   reasonable and binding upon Creditors.

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  1          2.20    The provisions regarding limitation of liability set forth in Sections 6.11, 7.25,

  2   12.1, 12.2 and 12.3 of the Plan are reasonable and good cause exists to approve them.

  3          2.21    Good cause exists to authorize the Reorganized Debtor to perform its obligations

  4   under the Plan. In accordance with the provisions of Section 13.17 of the Plan, pursuant to

  5   sections 105 and 1142 of the Bankruptcy Code, the Plan Agent and the Reorganized Debtor are

  6   authorized and empowered to execute such documents and to take such acts as may be

  7   appropriate to effectuate the terms and conditions of the Plan.

  8          2.22    The disposition of the Interest pursuant to the Plan is in good faith and in

  9   compliance with the provisions of the Bankruptcy Code, and, accordingly, neither the Debtor, the

 10   Reorganized Debtor, nor any other person or entity is liable, on account thereof, for violation of

 11   any applicable law, rule, or regulation governing the offer, issuance, sale or purchase of securities.

 12          2.23    Good cause exists to authorize the Debtor to execute and deliver the Plan

 13   Documents in accordance with the provisions of the Confirmation Order and to authorize the

 14   Reorganized Debtor to perform any obligations that it may have under any of the Plan

 15   Documents.

 16          2.24    Good cause exists for John Hyde to be appointed as Plan Agent on the Effective

 17   Date in accordance with the provisions of Section 6.6 of the Plan.

 18          2.25    To the extent that any Finding of Fact herein is a Conclusion of Law, or a

 19   Conclusion of Law is a Finding of Fact, it shall be so considered.

 20
      [SIGNATURES ON NEXT PAGES]
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      PRESENTED BY:
  1

  2   WINTHROP COUCHOT
      PROFESSIONAL CORPORATION
  3

  4   By: /s/ Robert E. Opera
  5          Robert E. Opera
             Payam Khodadadi
  6   General Insolvency Counsel for
      Debtor and Debtor-in-Possession
  7   Persik Productions, Inc.
  8
      NO OPPOSITION TO THE FOREGOING.
  9
      KLEE, TUCHIN, BOGDANOFF &
 10   STERN, LLP.
 11

 12   By:   /s/ Jonathan S. Shenson
              Jonathan S. Shenson
 13           Korin A. Elliott
      Counsel for MHF Zweite Academy
 14   Film GmbH & Co. KG
 15
      BUSH, GOTTLIEB, SINGER, LÓPEZ,
 16   KOHANSKI, ADELSTEIN & DICKINSON,
      a Law Corporation
 17

 18
      By:  /s/ Joseph A. Kohanski
 19          Joseph A. Kohanski
             David E. Ahdoot
 20   Counsel for the Guilds
 21
      PACHULSKI STANG ZIEHL &
 22   JONES LLP

 23
      By:  /s/ Jeremy Richards
 24          Jeremy Richards
 25          Malhar S. Pagay
      Counsel for the Official Committee of
 26   Unsecured Creditors

 27
      [SIGNATURES CONTINUED ON NEXT PAGE]
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  1    RUTAN & TUCKER, LLP
  2

  3    By:  /s/ Penelope Parmes
              Penelope Parmes
  4    Counsel for Davand Holdings, LLC
  5
       NO OPPOSITION TO THE FORM OF
  6    THE FINDINGS OF FACT AND
       CONCLUSIONS OF LAW.
  7
       KAYE SCHOLER, LLP
  8

  9
       By:   /s/ Ashleigh A. Danker
 10            Marc S. Cohen
               Ashleigh A. Danker
 11    Insolvency Counsel for R. Alexander
 12    Pilmer, Chapter 7 Trustee in the Yari
       Film Group Releasing, LLC Case
 13

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                                                     ###
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      DATED: May 26, 2011
                                               United States Bankruptcy Judge
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  1                                     PROOF OF SERVICE OF DOCUMENT

  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
                                               th
      address is: 660 Newport Center Drive, 4 Fl., Newport Beach, CA 92660.
  3
      A true and correct copy of the foregoing document described as: FINDINGS OF FACT AND
  4   CONCLUSIONS OF LAW IN SUPPORT OF ORDER CONFIRMING DEBTOR’S SECOND AMENDED
      CHAPTER 11 PLAN OF REORGANIZATION will be served or was served (a) on the judge in chambers
  5   in the form and manner required by LBR 5005-2(d); and (b) in the manner indicated below:

  6   I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) – Pursuant to
      controlling General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served
  7   by the court via NEF and hyperlink to the document. On ________________, 2011, I checked the
      CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
  8   person(s) are on the Electronic Mail Notice List to receive NEF transmission at the email address(es)
      indicated below:
  9
          Service information continued on attached page
 10
      II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL(indicate method for each person or entity served):
 11   On ___________________, 201, I served the following person(s) and/or entity(ies) at the last known
      address(es) in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in
      a sealed envelope in the United States Mail, first class, postage prepaid, and/or with an overnight mail
 12   service addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
      be completed no later than 24 hours after the document is filed.
 13

 14

 15      Service information continued on attached page

 16   III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (indicate method for
      each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on May 10, 2011, I served
 17   the following person(s) and/or entity(ies) by personal delivery, or (for those who consented in writing to
      such service method), by facsimile transmission and/or email as follows. Listing the judge here
 18   constitutes a declaration that personal delivery on the judge will be completed no later than 24 hours after
      the document is filed.
 19

 20
          Service information continued on attached page
 21

 22   I declare under penalty of perjury under the laws of the United States of America that the foregoing is true
      and correct.
 23
       May 10, 2011              Susan Connor                              /s/ Susan Connor
 24    Date                           Type Name                            Signature

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      SERVICE VIA E-MAIL
  1
      Russell Clementson on behalf of U.S. Trustee United States Trustee (LA)
  2   russell.clementson@usdoj.gov
  3
      Ashleigh Danker on behalf of Creditor Official Committee of Unsecured Creditors in Yari Film
  4   Group Releasing, LLC
      adanker@kayescholer.com
  5

  6
      Joseph A Kohanski on behalf of Interested Party Courtesy NEF
  7   jkohanski@bushquinonez.com, tjimines@bushgottlieb.com

  8   Malhar S Pagay on behalf of Attorney Official Committee of Unsecured Creditors in Persik
      Productions, Inc.
  9
      mpagay@pszjlaw.com, mpagay@pszjlaw.com
 10
      Jonathon Shenson on behalf of Attorney JONATHAN SHENSON
 11   jshenson@ktbslaw.com
 12   Davand Holdings: Penelope Parmes: pparmes@rutan.com
 13

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                                NOTICE OF ENTERED ORDER AND SERVICE LIST
  1
      Notice is given by the court that a judgment or order entitled (specify): FINDINGS OF FACT AND
  2   CONCLUSIONS OF LAW IN SUPPORT OF ORDER CONFIRMING DEBTOR’S SECOND AMENDED
      CHAPTER 11 PLAN OF REORGANIZATION was entered on the date indicated as Entered on the first
  3   page of this judgment or order and will be served in the manner indicated below:

  4
      I. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF) B Pursuant to controlling
  5   General Order(s) and Local Bankruptcy Rule(s), the foregoing document was served on the following
      person(s) by the court via NEF and hyperlink to the judgment or order. As of May 10, 2011, the following
  6   person(s) are currently on the Electronic Mail Notice List for this bankruptcy case or adversary proceeding
      to receive NEF transmission at the email address(es) indicated below.
  7

  8

  9
              Service information continued on attached page
 10
      II. SERVED BY THE COURT VIA U.S. MAIL: A copy of this notice and a true copy of this judgment or
 11   order was sent by United States Mail, first class, postage prepaid, to the following person(s) and/or
      entity(ies) at the address(es) indicated below:
 12

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 14

 15           Service information continued on attached page

 16   III. TO BE SERVED BY THE LODGING PARTY: Within 72 hours after receipt of a copy of this judgment
      or order which bears an Entered stamp, the party lodging the judgment or order will serve a complete
 17   copy bearing an Entered stamp by U.S. Mail, overnight mail, facsimile transmission or email and file a
      proof of service of the entered order on the following person(s) and/or entity(ies) at the address(es),
 18   facsimile transmission number(s), and/or email address(es) indicated below:

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 21
              Service information continued on attached page
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  1
      ADDITIONAL SERVICE INFORMATION (if needed):
  2

  3   NEF SERVICE LIST

  4      •   David E Ahdoot dahdoot@bushgottlieb.com, tjimines@bushgottlieb.com
         •   Michael F Chekian mike@cheklaw.com, msalanick@cheklaw.com
  5      •   Russell Clementson russell.clementson@usdoj.gov
         •   Alicia Clough alicia.clough@kayescholer.com
  6      •   Marc S Cohen mcohen@kayescholer.com
         •   Jeremy Faith jfaith@goodmanfaith.com
  7      •   Richard H Golubow rgolubow@winthropcouchot.com, pj@winthropcouchot.com
         •   David Guess dguess@ktbslaw.com
  8      •   Alan S Gutman alangutman@gutmanlaw.com
         •   Garrick A Hollander ghollander@winthropcouchot.com,
  9          sconnor@winthropcouchot.com;pj@winthropcouchot.com
         •   Lance N Jurich ljurich@loeb.com, kpresson@loeb.com
 10      •   Joseph A Kohanski jkohanski@bushquinonez.com, tjimines@bushgottlieb.com
         •   Robert E Opera ropera@winthropcouchot.com,
 11          sconnor@winthropcouchot.com;pj@winthropcouchot.com
         •   Malhar S Pagay mpagay@pszjlaw.com, mpagay@pszjlaw.com
 12
         •   Jeremy V Richards jrichards@pszjlaw.com, bdassa@pszjlaw.com
 13      •   Yonaton M Rosenzweig yoni.rosenzweig@kattenlaw.com
         •   James R Selth jim@wsrlaw.net, charles@wsrlaw.net
 14      •   Jonathon Shenson jshenson@ktbslaw.com
         •   Howard Steinberg hsteinberg@irell.com, awsmith@irell.com
 15      •   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
         •   Pamela Kohlman Webster pwebster@buchalter.com
 16      •   Eric D Winston ericwinston@quinnemanuel.com
         •   Marc J Winthrop mwinthrop@winthropcouchot.com, pj@winthropcouchot.com
 17      •   Melvin Yee myee@bushgottlieb.com, tjimines@bushgottlieb.com

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